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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



STEPHEN LEONARD GUARDINE, JR.,

      Plaintiff,

v.                                                          4:21cv300–WS/MJF

RON DESANTIS, et al.,

      Defendants.



               ORDER ADOPTING THE MAGISTRATE JUDGE’S
                   REPORT AND RECOMMENDATION

      Before the court is the magistrate judge's report and recommendation (ECF

No. 5) docketed September 22, 2021. The magistrate judge recommends that this

case be dismissed without prejudice for failure to pay the filing fee, to prosecute,

and to comply with a court order. Plaintiff’s copy of the report and

recommendation has been returned to the court marked “Not Deliverable as

Addressed; Unable to Forward.” Although it is his responsibility to do so, Plaintiff

has not provided the court with an adequate address.

      Upon review of the record, this court has determined that the report and

recommendation should be adopted.
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      Accordingly, it is ORDERED:

      1. The magistrate judge's report and recommendation (ECF No. 5) is adopted

and incorporated by reference in this order of the court.

      2. Plaintiff’s complaint and this action are hereby DISMISSED without

prejudice.

      3. The clerk is directed to enter judgment, stating: "All claims are dismissed

without prejudice."

      DONE AND ORDERED this             19th     day of     October    , 2021.




                                 s/ William Stafford
                                 WILLIAM STAFFORD
                                 SENIOR UNITED STATES DISTRICT JUDGE
